    Case: 1:24-cv-00115 Document #: 59 Filed: 03/13/24 Page 1 of 3 PageID #:708



                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION


ROADGET BUSINESS PTE. LTD., a private
limited company organized in the country of
Singapore,

                      Plaintiff,                   CIVIL ACTION NO. 1:24-cv-115

       v.                                          Judge: Hon. Elaine E. Bucklo

THE INDIVIDUALS, CORPORATIONS,
LIMITED LIABILITY COMPANIES,
PARTNERSHIPS, AND UNINCORPORATED
ASSOCIATIONS IDENTIFIED ON
SCHEDULE A HERETO

                      Defendants.


                        DEFENDANTS’ OPPOSED
       MOTION TO ALTER OR AMEND TEMPORARY RESTRAINING ORDER


       Defendants1 respectfully move the Court to alter or amend the TRO (ECF No. 20), and

reconsider the Order denying their motion to modify the TRO (ECF No. 58), by reducing the asset

freeze to Defendants’ gross sales revenue from the accused products. In support of the Motion,

Defendants submit (1) their Memorandum in support of the Motion, (2) the Casaceli Declaration

and accompanying exhibits, and (3) the “[Proposed] Modified Order.”


1
  This motion is made by the following Defendants listed on Schedule A of the Complaint:
Defendant No. 1 (Foshan Qiqiao Childhood Clothing Co., Ltd. dba S H Baby); Defendant Nos. 6
/ 7 (Huangcun Xiamo Clothing Business Department dba Free Loop and Be kind); Defendant No.
8 (Dongguan Mengyilian Apparel Co., Ltd. dba Livi); Defendant No. 9 (Dongguan Wenhao
Apparel Co., Ltd. dba Mi Fashion); Defendant No. 11 (Guangzhou Wuzirong Trading Co., Ltd.
dba Yeonhee women clothing); Defendant Nos. 13 / 14 (Xuanyi Wardrobe Apparel Factory dba
SYLP PLUS and SYLP); Defendant No. 16 (Guangzhi Preferred Trading Firm dba Dchen); and
Defendant No. 17 (Huang Kangwei).


                                               1
    Case: 1:24-cv-00115 Document #: 59 Filed: 03/13/24 Page 2 of 3 PageID #:709




       The parties’ counsel met and conferred by phone call on March 13, 2024, pursuant this

Court’s Motion Practice rules. Plaintiff opposes this Motion. Defendant proposes the following

briefing schedule:

       Plaintiff’s Opposition is due within two weeks of the filing of the Motion, and Defendant’s

Reply is due within two weeks of the filing of the Opposition.



Dated: March 13, 2024

                                                 Respectfully Submitted,

                                                 /s/____Christopher J. Fahy_________




                                                 Christopher J. Fahy
                                                 ARCH & LAKE LLP
                                                 203 N. LaSalle St., Ste. 2100
                                                 Chicago, IL 60601
                                                 Phone: 312-558-1369
                                                 Fax: 312-614-1873
                                                 Christopher@archlakelaw.com

                                                 Counsel for Defendants


                                                 Haoyi Chen
                                                 ARCH & LAKE LLP
                                                 2500 Wilcrest Dr.
                                                 Houston, Tx 77042
                                                 Phone: 346-335-9870
                                                 Fax: 312-614-1873
                                                 haoyichen@archlakelaw.com

                                                 Counsel for Defendants
                                                 Pro hac vice forthcoming




                                                2
Case: 1:24-cv-00115 Document #: 59 Filed: 03/13/24 Page 3 of 3 PageID #:710




                                      William W. Flachsbart
                                      DUNLAP BENNETT & LUDWIG
                                      333 N. Michigan Ave. Suite 2700
                                      Chicago, Illinois 60601
                                      Phone: 312-551-9500
                                      wflachsbart@dbllawyers.com

                                      Counsel for Defendants




                                     3
